Case 8:21-cv-01275-DOC-JDE     Document 1    Filed 07/28/21   Page 1 of 41 Page ID
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     A Professional Corporation
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 5
   Attorneys for defendants Claiborne Tanner
 6 and Tanner Law Firm, LLC
 7
 8                       UNITED STATES DISTRICT COURT

 9                     CENTRAL DISTRICT OF CALIFORNIA

10
11 PURPLE MOUNTAIN HOLDINGS,                   Case No.
   INC2·~CENTRAL PARTNERS
12 PAKJ:,NT GROUP INC.· CMX                    NOTICE OF REMOVAL
   DISTRIBUTION, h'fc?. ECS                    OF ACTION
13 LABORATORIES, INL-. ·BRAND
   PACK, LLC; THE FOUR, LLC,                   UNDER 28 U.S.C. § 1441(b)
14                                             (DIVERSITY OF CITIZENSHIP)
             Plaintiffs,
15
         vs.
16



                Defendants.
19
20
21
22        TO THE CLERK OF THE ABOVE-ENTITLED COURT:
23        PLEASE TAKE NOTICE that defendants CLAIBORNE TANNER and
24 TANNER LAW FIRM, LLC hereby remove to this Court the California state court
25 action described below.
26        1.    On June 28, 2021, an action was commenced in the Superior Court of
27 the State of California, County of Orange, entitled Purple Mountain Holdings, Inc.
28 etc. v. Claiborne Tanner et al., Case No. 30-2021-01207562-CU-PN-CJC.


                                NOTICE OF REMOVAL OF ACTION
                  Case 8:21-cv-01275-DOC-JDE       Document 1         Filed 07/28/21   Page 2 of 41 Page ID
                                                          #:2



                    1         2.    A true and correct copy of the above-described Complaint is attached
                    2 hereto as Exhibit A.
                    3         3.    A true and correct copy of the Summons that defendants received is
                    4 attached hereto as Exhibit B.
                    5         4.    No appearance has been made by any defendant in the state court
                    6 action.
                    7         5.    This case is a civil action of which this Court has original jurisdiction
                    8 under 28 U.S.C. § 1332, and is one which may be removed to this Court by
                    9 defendant pursuant to 28 U.S.C. § 1441(b) in that it is a civil action between citizens

      N
                   10 of different states and the matter in controversy exceeds the sum of $75,000,
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      °'., <";'
            'O
                   11 exclusive of costs, as referenced in the attached Complaint. (See Exhibit A
      ·e ~
   z@~
  oca ~
oof::::u.c
                   12 (Complaint), at if 93, p. 17, line 12.)
~~]Ji
  ~ g,:§           13         6.    Complete diversity of citizenship exists in that each plaintiff is a citizen
~ Uo~o""'~
~ ~7.              14 of the State of California, and each defendant is a citizen of the State of Louisiana.
~ z-~
~ Q;:; ~
fjen-•             15         7.    Notice of the state court complaint was received by defendants no
~ u:i .:: ~
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         -         16 earlier than July 5, 2021. In any event, the Complaint does not reveal the citizenship
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                   17 of each party to the Complaint. Therefore, the 30-day deadline for removal does not
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      "'
      N            18 apply here. (Harris v. Bankers Life & Cas. Co., 425 F.3d 689, 694 (9th Cir. 2005).)
                   19
                   20 DATED: July 28, 2021                      NEUFELD MARKS
                                                                 A Professional Corporation
                   21                                           Paul S. Marks
                   22
                   23
                   24                                           By:     Isl Paul S. Marks
                                                                      ---  - - -- - - - -- -- - -
                                                                      Paul S. Marks
                   25                                                 Attorneys for defendants Claiborne Tanner
                   26                                                 and Tanner Law Firm, LLC
                   27
                   28
                                                                       2
                                                      NOTICE OF REMOVAL OF ACTION
Case 8:21-cv-01275-DOC-JDE   Document 1   Filed 07/28/21   Page 3 of 41 Page ID
                                    #:3




                      Exhibit A
  Case 8:21-cv-01275-DOC-JDE               Document 1      Filed 07/28/21      Page 4 of 41 Page ID
                                                         #:4 County of Orange, 06/25/2021 05:52:58 PM.
          Electronically Ried by Superior Court of California,
30-2021- 1207562-CU-PN-CJC - ROA#2- DAVID H. YAMASAKI, Clerk of the Court By Katie Trent, Deputy Clerk.




      1 JACQUELINE S. VINACCIA SBN: 149885
          VANST LAW, LLP
      2 3170 Fourth Ave., Suite 250B
          San Diego, CA 92101
      3 TEL: 858 243 4299
        JSV@Vanstlavvfinn.com
      4

      5 Attorneys for Plaintiffs, PURPLE MOUNTAIN HOLDINGS, INC.; CENTRAL PAR.TNERS
        PARENT GROUP, INC.; CMX DISTRIBUTION, INC.; ECS LABORATORIES, INC.; BRAND
      6 PACK, LLC.; TIIE FOUR, LLC

      7

      8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

      9                                       COUNTY OF ORANGE

    1O PURPLE MOUNTAIN HOLDINGS, INC.;                      Case No.:   30-2U2 l-O I2U7562-C.U-PN-CJC
          CENTRAL PARTNERS PARENTGROUP,
    11 INC.; CMX DISTRIBUTION, INC.; ECS                    [UNLIMITED CIVIL]
       LABORATORIBS, INC.; BRAND PACK,
    12 LLC.; THE FOUR, LLC.                                COMPLAINT:
                                                           1. PROFESSIONAL NEGLIGENCE
    13                    Plaintiff,                       2. BREACH OF FIDUCIARY DUTIES
                                                           3. VIOLATION OF BUSINESS &
    14 v.                                                     PROFESSIONS CODE § 6125 -
                                                                DISGORGEMENT OF FEES PAID
    15    CLAIBORNE TANNER AND TANNER LAW
          FIRM, LLC, and DOES l through 100,
                                                                    Assigned for All Purposes
    16
                          Defendants.                              judge Martha K. Gooding
    17
    18
    19
    20
    21              Plaintiffs, PURPLE MOUNTAIN HOLDINGS, INC.; CENTRAL P AR1NERS PARENT

    22    GROUP, INC.; CMX DISTRIBUTION, INC.; ECS LABORATORIES, INC.; BRAND PACK,

    23    LLC.; and THE FOUR, LLC, allege as follows:

    24                                 PARTIES. JURISDICTION. AND VENUE

    25         1.        Plaintiff, PURPLE MOUNTAIN HOLDINGS, lNC. (P'Mfl), is and at all times

    26 mentioned was a corporation formed and operating under the laws of the State of California with its

    27 principal place of business in Cost.a Mesa California.
    28

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                                                    COMPLAlNT
Case 8:21-cv-01275-DOC-JDE             Document 1        Filed 07/28/21      Page 5 of 41 Page ID
                                              #:5




   1         2.       Plaintiff, CENTRAL PARTNERS PARENT GROUP, INC. (CPPG), is and at all

   2   times mentioned was a corporation formed and operating under the laws of the State of California

   3   with its principal place of business in Costa Mesa California.
   4        3.        Plaintiff, CMX DISTRIBUTION, INC. (CMX), is and at all times mentioned was a

   5 licensed cannabis distribution business, and a corporation furmed and operating under the laws of the
   6   State of California with its principal place ofbusiness in Costa Mesa California.

   7        4.        Plaintiff, ECS LABORATORIBS, INC. (ECS), is and at all times mentioned was a

   8 corporation formed and operating under the laws of the State of California with its principal place of
   9 business in Costa Mesa California.

  10        5.        Plaintiff, BRAND PACK, LLC. (Brand Pack), is and· at all times mentioned was a
  11   limited liability corporation formed and operating under the laws of the State of California with its

  12 principal place of business in Costa Mesa California.

  13        6.        Plaintiff, THE FOUR, LLC (The Four), is and at all times mentioned was a littlited
  14 liability corporation formed and operating under the laws of the State of California with its principal

  15 place of business. in Costa Mesa California.

  16        7.       Defendant, CLAIBORNE TANNER (Clay Tanner), is an at all times mentioned was

 17 a resident of the State of Louisiana, and a licensed attorney in the State of Louisiana, and the managing

 18 member of TANNER LAW FIRM, LLC. Plaintiffs are informed and believe that Defendant Clay

  19 Tanner has never held a license to practice law in the State of California.

 20         8.       Defendant, TANNER LAW FIRM, LLC (Firm), is and at all times mentioned was a

 21 limi1-ed liability company formed and operating i:ll. the State ofLouisana and is engaged in the practice
 22 oflaw. Defendant, Clay Tanner, is the managing member of TANNER LAW FIRM, LLC.

 23         9.       Defendant, Clay Tanner, is also an owner of Hillboro Brown Capital, LLC (HBC), a

 24 California limited liability company with its principal place of business in Orange County California.

 25         10.      Clay Tanner provided legal services and advice to Plaintiffs and HBC in Orange
 26 County California in relation to the Plaintiffs' business operations and investor funding in the context

 27 of California's legal cannabis laws and regulations. On that basis, Plaintiffs allege that jurisdiction

 28    and venue forth.is action are proper in the Orange County Superior Court.

                                                       -2-
                                                    COMPLAINT
Case 8:21-cv-01275-DOC-JDE              Document 1        Filed 07/28/21       Page 6 of 41 Page ID
                                               #:6




  1         11.      Plaintiffs are informed and believe that Clay Tanner maintains an apartment for bis

  2 frequent trips to Orange County California and that he .still maintains business operations in Orange
  3 County California
  4         12.      The true names and capacities of Defendants Does l through 100 inclusive are

  5 unknown at this time to Plaintiffs, who therefore sues them under such fictitious names pursuant to
  6 Code of Civil Procedure section 474. When the true names and capacities ofthe Doe Defendants are

  7 ascertained by Plaintiffs, they will seek leave to amend this Complaint to allege the same.

  8        13.       Plaintiffs are ignorant and unaware of the true names, capacities, interests, or basis for

  9 liability by Defendants identified as Does 1 through 100, inclusive, and therefore sues these
 10 Defendants by such fictitious names, Plaintiffs are informed and believe and thereon allege that at all

 11 times relevant to this action, Does 1 tln:ough 100~ and each of them, claim certain mterests or were
 12 acting as the agent, servant, principal; employee, partner, trustee, or joint venture of each of the other
 13 Defendants in doing the tllings alleged herein and is responsible in some manner for the damages and
 14 disputes alleged in this Complaint and/or the relief sought in this Complaint Plaintiffs will amend
 15 this Complaint to allege the true names and capacities of Does I through 10 when they are ascertained.

 16                                         GENERAL ALLEGATIONS
 17        14.       Clay Tanner was first introduced to the California cannabis industry through Ben

 18 Knight, a long time friend, in approximately October 2017. Prior to October 2017, Clay Tanner had
 19 no knowledge ofor experience in tbe cannabis industry from either a legal perspective or a business
 20 perspective.

 21        15.       Mr. Knight introduced Clay Tanner to Robert Taft, Jr. and Jeff Holcombe, owners of
 22 several cannabis business in Orange County California, including an operating medical cannabis
 23   dispensacy entitled 420 Central in Santa Ana, California

 24        16.       Clay Tanner agreed to join the cannabis opportunity presented by agreeing to raise
 25 capital even though he had never raised capital of the scale that would be required to fully :fund the

 26 envisioned cannabis operations. Clay Tanner made the legal recommendation to Mr. Taft, Mr.
 27 Knight, and Clint Tanner that he put together an investment fund to procure the money necessary to

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                                                        -3-
                                                   COM'.PLAINT
Case 8:21-cv-01275-DOC-JDE             Document 1         Filed 07/28/21      Page 7 of 41 Page ID
                                              #:7




  I   fund the cannabis opportunities envisioned, though he had little to no experience creating such an

  2 investment fund.
  3        17.       Shortly after their initial meeting, Clay Tanner drafted the "Summary of Terms for

  4 Capital Infusion and Partnership between Ben Knight and Robert Taft, Jr." (Sumn1ary Agreement).

  5 (A true and correct copy is attached hereto as Exhibit I and incorporated by reference.) It is unclear
  6 who Clay Tanner's client was in this transaction, or ifeither party had separate counsel or were

  7 informed of the potential conflict.

  8        18.       The Summary Agreement was drafted to document the relationship between Ben

  9 Knight and Robert Taft, Jr. with respect to the proposed investment of capital and future services to

 10 certain businesses. The Summary Agreement was executed and entirely performed within the S1ate

 11 of California. The investment and services contemplated included:
 12              a. an initial contribution into Purple M01mtain Holdings, Inc. (P:MH), a California

 13                 Corporation;
 14              b. services ofBen Knight as a chieffinancial officer to raise capital, and overseeing legal,
 15                 tax, and organizational structure, and implementation of software; and

 16              c. raising capital for PMH.

 17        19.      Clay Tanner also drafted a "Joint Venture Agreement" (N Agreement) that was

 18 executed by Robert Taft. Jr. Jeff Holcombe, Jorge Burtin, individually, and as trustee of The Jorge

 19 Burtin Family Trust and The Rosalba Burtin Family Trust (Burtin), and Ben Knight, as Manager of

20 Hillsboro Brown Capital, LLC (HBC). (A true and correct copy of the JV Agreement is attached

21 hereto as Exhibit 2 and incorporated by reference.) It is unclear who Clay Tanner's client was in this

22 transaction, or if any of the parties had separate counsel or were informed of the potential conflict.

23        20.       Plaintiffs are informed and believe that Clay Tanner was an owner of at least 47.5%

24 of HBC at the time the N Agreement was drafted and executed.

25        21.       Clay Tanner prepared the "Limited Liability Operating Agreement for Hillsboro

26 Brown Capital, LLC" (HBC Operating Agreement), and acted as its counsel in preparing that

27 agreement. (A true and correct copy of the HBC Operating Agreement is attached hereto as Exhibit

28 3 and incorporated by reference.)

                                                       -4-
                                                  COMPLAJNT
Case 8:21-cv-01275-DOC-JDE              Document 1        Filed 07/28/21      Page 8 of 41 Page ID
                                               #:8




   1                                         PMH INVESTMENT FUND

  2          22.      In or about November 2017, Clay Tanner formed PMH Investment Flllld, LLC, (the
  3 Ftmd) a Louisiana limited liability company for the purpose of raising money for investment into

  4    Central Partners Parent Group, Inc., a California corporation (CPPG), and P:MI-I. Plaintiffs are

  5 infoxmed and believe and thereon alleged the Clay Tanner had little to no experience forming

  6 inves1ment fimds or preparing offering memoranda for such fimds prior to his formation of the Ftm.d.

  7          23.      In or about November 2017, Clay Tanner also assisted in the formation of P:MH

  8 Investment Manager, LLC, a Louisiana limited liability company (the Fund Manager) for the purpose
  9 of managing the operations of the Fund. The Manager of the Fund Manager was Clint Tanner, Clay

 10 Tanner's brother.
 11         24.       In or about November 2017, Clay Tanner prepared the Confidential Private Offering

 12 Memorandum for PMH Investment F1md, LLC (First Offering Memo) for use in soliciting :funds from

 13 potential investors for investment into CPPG and PMH. The First Offering identifies Clay Tanner as

 14 General Counsel for CPPG and P:MH. (The First Offering Memo is designated Confidential in a

 15 related lawsuit pending before this court Thus, it is not appended to this complaint. It can be

 16 submitted to the court under seal as required during this action.)

 17         25.       Clay Tanner, with some assistance of general contractor Robert LaFreeda~ prepared a

 18 construction budget as part the First Offering Memo though his construction experience is limited to

 19 his legal work performed outside of California and despite his complete lack of knowledge of any

 20 unique building regulations related to the cannabis industry :in California. Instead. Clay Tanner
 21    asserts that there is no real difference between the construction of a cannabis manufacturing facility

 22 and the construction of any other type of manufacturing facility, other than 1he type of equipment

 23 installed in the facility.
 24         26.       The Fund was created to gather investors to purchase 7.5% of the issued and

 25 outstanding shares in CPPG and 10% issued and outstanding shares of PMH.                   Clay Tanner

 26 represented the investment into PMK was to provide funds for the tenant improvements to complete

 27 a cannabis manufacturing and distribution facility known as Toronto Way Partners, Inc. dba The

 28 Healing Plant (THP). Clay Tanner stated that THP was anticipated to operate as a ''fully permitted

                                                        -5-
                                                   COMPLAINT
Case 8:21-cv-01275-DOC-JDE                  Document 1        Filed 07/28/21     Page 9 of 41 Page ID
                                                   #:9




     l   marijuana manufacturing facility which [would] provide pharmaceutical grade cannabis-extract raw

 2 products and cannabis-infused final products to the cannabis industty."
  3            27.       At the time the First Offering Memo was prepared and presented to potential investors,

 4 HBC was an owner of a substantial percentage of the stock in CPPG and PMJ-I, and Clay Tanner was

 5 an owner of at least 47.5% of HBC.

 6             28.      The First Offering Memo also identifies the Firm's IOLTA Trust Account as the

 7 Escrow account for the investor money, and Claiborne Tanner as the contact for that escrow account.

 8                      After the Fund money was placed into the Finn's IOLTA Trust Account, Clay Tanner

 9       became the only person with access to those funds, and the only person to distribute those funds.

10                                           REORGANIZATION OF CPPG

11             30.      Jn or aboutDecember 2017, Clay Tanner also prepared the Corporate Reorganizing
12 Plan for Central Partners Group, the Action by Unanimous Written Consent of the Board ofDirectors

13 of Central Partners Group, Inc., a California Corporation, the Stock Subscription Agreement for

14 Central partners, Inc., the Articles of Incorporation ofCPPG, the Minutes of the First Organizations
15 Meeting of Incorporators and Initial Directors of Central ·Partners Parent Group, Inc., a Waiver of

16 Notice and Consent to Holding of First Meeting of Incorporators and Directors of Central Partners

17 Parent Group, Inc., the Agreement and Plan of Merger/Share Exchange for Central Partners Parent

18 Group, Inc. and Central Parents Group, Inc., and the Notice of Approval of Merger and Certain

19 Shareholder Rights, for the merger of the two corporations.             Clay Tanner has stated in sworn
20 testimony that for the preparation of these documents his client was CPPG, despite bis not being

21       licensed/authorized to practice law in California.

22                                             THP CONSTRUCTION

23            31.       In or about March 2018, Clay Tanner decided that the construction of the tenant

24 improvements for THP was not progressing as quickly as he believed it should and appointed him.self

25 project manager to over see the completion of the construction. Clay Tanner paid the Firm a monthly

26       "salary" out oftheFundmoney in the Firm's IOLTA Trust accowit for his legal work and services

27 as project manager at THP even though he had little construction or project management experience,

28       and no prior experience in the cannabis industry.

                                                         -6-
                                                      COMPLAJNT
Case 8:21-cv-01275-DOC-JDE            Document 1 Filed 07/28/21              Page 10 of 41 Page ID
                                             #:10




   1         32.      At no time during bis tenure as General Counsel for PMH or any related entity did

   2 Clay Tanner ensure that there was any contract between the entities and Robert LaFreeda's

   3 construction company, RL Constructio~ who Clay Tanner and Ben Knight had hired to build out of

   4 the tenant improvements at T.HP. Instea~ he simply dispersed the Fund's money to Robert LaFreeda

   5 from the Firm's IOLTA Trust account at the request ofIVIr.LaFreeda.
   6         33.      At no time during bis tenure as General Counsel for PWI did Clay Tanner document

   7 bis assumed role as project manager with Plv.ffl or any of the other Plaintiffs.

   8        34.       In or about April 2018, it was discovered that additional investment· would be

   9 necessary to complete the build out of the PMH facility. Clay Tanner drafted a 200 Round Funding

  I 0 Confidential Private Offering Memorandum (Second Offering Memo) largely based on the terms of

  11   the First Offering Memo. The Second Offering Memo sought to raise an additional $1.5 million for

  12 the purchase of an additional 10% of the shares in P.MH.

  13        35.       Thereafter, the Fund accepted money under the Second Offering Memo and all money

  14 invested by the Fund members under the Second Offering Memo were also escrowed through the

  15 Firm's IOLTA Trust account with Clay Tanner being 1.he sole person able t.o access that money for

  16 distribution.
  17        36.      Although Clay Tanner has st:ated in sworn testimony that he, Ben Knight, and Robert

  18 Taft were originally meantto receive a salary from PMH, the Firm's IOL TA Trust account snmmazy
  19 confirms that only the Firm was paid a regular salary and Clay Tanner's cost reimbursements between

 20 January 2018 and April 2019. Clay Tanner has also testified in deposition that no one was required

 21    to verify or approve bis cost reimbmsements before they were paid to him..

 22         37.      The Firm collected, at least, $161,694.50 in salary for legal services and cost

 23    reimbursements from P::MH according to Clay Tanner's own Trust Account Summary produced :in

 24 the related action.

 25                                LEGAL WORK FOR RELATED ENTITIES
 26         38.      Beginning in 2018, Clay Tanner represented to third parties that he was General

 27 Counsel for CMX and prepared several agreements and other documents on behalf of C:MX..

 28

                                                      -7-
                                                   COMPLAlNT
Case 8:21-cv-01275-DOC-JDE           Document 1 Filed 07/28/21             Page 11 of 41 Page ID
                                            #:11




  1        39.      In January 2018. Clay Tanner prepared an investor term sheet for Robert LaFreeda's
  2 sister, Dawn LaFreeda's, to solicit her investment of $750,000 into CMX. He forwarded that term
  3 sheet to Ben Knight for review on the Firm's email. Thereafter, Dawn LaFreedamade a $750,000.00
  4 investment from her company Gemini 8. Clay Tanner received that money into the Firm's IOLTA
  5 Trust account and distributed that money in the same manner as the Fund money; meaning that Clay
  6 Tanner bad sole access to that money for distribution.
  7        40.      Plaintiffs are infonned and believe that one ofthe agreements prepared by Clay Tanner
  8   as General Counsel for CMX was an Equipment Lease/Purchase Agreement whereby C.MX agreed
  9 to lease to own certain. manufacturing and processing equipment from Verde X. Inc. While Clay
 10 Tanner prepared and Ben Knight executed the agreement, neither ever informed the other owners or
 11 the accountant for CMX and thus no payments were ever made on the equipment The equipment

 12 was repossessed by the lessor after months of discussions between new counsel for CMX and the
 13 lessor's attorney.

 14        41.      Plaintiffs are also informed and believe that Clay Tanner drafted an Equipment Lease
 15 Financing Agreement between THP for the lease of extraction and manufacturing equipment for the
 16 bottling line envision to be operated by The Habit, a company that was negotiating leased space at
 17 THP. Under the tenns of the agreement, Verde X, Inc. agreed to :finance $800,000 for the acquisition
 18 of the bottling line equipment Unbeknownst to PM.II, Verde X, Inc. only ever financed $200,000 of
 19 the $800,000 and no payments were ever made on the $200,000 financed. Clay Tanner abandoned
 20 his legal representation of Toronto Way Par1ners, Inc. without making any arrangements for payment.

 21        42.      In March and September 2018, CJ\.fX paid legal fees to Clay Tanner for his legal work

 22 totaling $10,000.00.

 23        43.      In October 2018, Clay Tanner signed a Commercial Property Purchase and Sale
 24 Agreement on behalf of C:IMX for the purchase of a neighboring commercial condominium unit to
 25 allegedly be financed by a third party. C.MX advanced more than $129,000 toward that property
 26 purchase before it fell through. Clay Tanner walked out of C:MX before recovering that $129,000

 27 advance leaving C:MX with no infonnation on the contemplated purchase or how to recover the

 28 advance.

                                                    -8-
                                                 COMPLAINT
Case 8:21-cv-01275-DOC-JDE            Document 1 Filed 07/28/21             Page 12 of 41 Page ID
                                             #:12




  1        44.       On or about February 21, 2019, Clay Tanner sent Robert Taft, JefIHolcombe, Jorge
  2 Burtin and Ben Knight an email from the Firm's email stating that he would be preparing corporate
  3 documents for CPPG, CMX. and P:MJI that each would need to review, have their attorneys review,
  4 and the sign. Clay Tanner has stated in swom testimony that he was acting as General Counsel for
  5 each of these entities at the time he prepared these documents, even though each of these entities is
  6 formed and operating in California and even 1hough Clay Tanner is not licensed/author.iz.ed to practice

  7 law in Califonria.

  8        45.      In October 2018, Clay Tanner prepared corporate documents for several entities

  9 including:
 10              a. Fol' PMH - a Unanimous Consent for the second round investment from the Fund

 11                 providing the Fund an additional 10% ownership in PMH for the $1.5 million in

 12                 additional investment;

 13              b. For CPPG ~Bylaws that no longer identify Todd Teach's interestin CPPG;

 14              c. For Cadillax Partners, LLC - an Amended and Restated Operating Agreement that
 15                 reflects the buy of Kris Kanik, and a Statement of Information reflecting then current

 16                 ownership;

 17              d. Fo.- Central Franchise Group~ LLC - an Operating Agreement to reflect the buyout

 18                 of Kris Kanik, though Clay Tanner admits not knowing what the operation of this

 19                 company were;

 20              e. For Band Pack., LLC - an Operating Agreement; and

 21              f. For The Four, LLC - an Operating agreement, though Clay Tanner admits not

 22                 knowing what the operations of this company were.

 23        46.      All of these documents were sent to Robert Taft, Jeff Holcombe, and Ben Knight from
 24 Clay Tanner's Firm email Clay Tanner has stated in sworn testimony that the preparation and

 25 execution of these documents was important to establish proper ownership in each entity to include

 26 HBC.

 27       47.       In or about November and December 2018, Clay Tailner prepared an Assigned of

 28 Purchase Agreement on behalf of ESC Laboratories. After preparing the agreement, and negotiating

                                                     -9-
                                                  COMPLAJNT
Case 8:21-cv-01275-DOC-JDE              Document 1 Filed 07/28/21               Page 13 of 41 Page ID
                                               #:13




   1 with the escrow agent, Clay Tanner informed the parties to the agreement, in an email no longer on

   2   the Firm's letterhead, disclosing for the first time that he had a personal :financial interest in Cadillax

   3   Partners, LLC, one of the parties to the transaction. He nevex advised the parties that this amounted

   4 to a conflict of interest, nor did he dis.close that he had no authorization to practice law in California.

   5        48.       In or about January 2019, Clay Tanner revised the operating agreement for .HBC to
   6   provide Robert LaFreeda with a 15% ownership interest in the company.

   7       49. In March 2019, Clay Tanner began pressuring the parties to the entities' agreements for PMH,

   8 CPPG, Central Franchise Group, Brand Pack, and The Four to sign and :finalize the agreements.
   9   Though each of the agreements is back dated to a date in 2018, all of the operating agreements were

  10 signed in March 2019.
  11      50. In or about May 2019, Clay Tanner abandoned his involvement with PMH, CPPG, C:MX,

  12   Cadillax Partners, and all related entities. As a result of his abandonment of his clients without

  13 warning or attempt to safeguard his clients' rights, Plaintiffs were required to retain counsel to
  14 respond to several demands for payments on defaulted agreements and to make payments on

  15 agreements for leases on equipment that was never used because the THP was left incomplete, and

  16 no arrangements were made with CMX.

  17      51. Clay Tanner never presented any of the entities or individuals he performed legal work for in

  18 California with any engagement agreement, and/or disclosure of potential or actual conflict of

  19 interest. Nor did he ever inform any of these clients that he was not licensed or authorized to practice

  20 law in California. All these actions are in violation of California Business & Professions Code§ 6125

  21   and California Rules of Professional Conduct, Rule 1.7 (formerly Rule 3-310.)

  22                FORMATION AND OPERATION OF COMPETING BUSINESSES
  23      52. In April 2019, Clay Tanner developed and participated in a plan to sell the oocompleted and

  24 non-operating THP without the knowledge or consent of the remalning owners. That sale attempt

  25   was a clear breach of Clay Tanner's professional and fiduciary duties to PlMH, and THP, at a

  26 minimum.
  27        53.       Plaintiffs are informed and believe that by March or April 2019, Clay Tanner was

  28 using the confidential information and knowledge he gained while performing legal and other work

                                                         - 10-
                                                     COMPLAINT
Case 8:21-cv-01275-DOC-JDE              Document 1 Filed 07/28/21              Page 14 of 41 Page ID
                                               #:14




  1 for Plaintiffs to form and operate his own competing cannabis businesses within a half mile of several
  2 of his clients, and businesses in which he still had a personal financial interest.
  3       54. In or about February 2020, Clay Tanner fonned California Leaf Company (Cal Leaf), a
  4 cannabis business that operates within one half mile of THP, CMX, and their related entities. cal
  5 Leaf operates in direct competition to TIIP, and usurped THrs business opporttmity with Ninja
  6 Consultation Group, LLC, dba The Habit for a bottling operation for cannabis infused beverages.
  7 Plaintiffs are infonned and believe that Ben Knight is a partner with ClayTanner in Cal Leaf.
  8         55.      In June 2018, in his position as General Counsel for PMH, Clay Tanner prepared draft
  9 agreements between PMHITHP and The Habit for the installation and operation of a bottling line for
 I0   cannabis infused beverages packaged under The Habit brand. That agreement included a partial

 11 ownership in The Habit by PMHITIIP. Clay Tanner never completed the transaction. Instead, he
 12 usurped the corporate/business opportunity for himself and his own company Cal Leaf.

 13      56. Plaintiffs are informed and believe that by March 2019 Clay Tanner had usurped the

 14 corporate/business opportunity with The Habit and had already obtained an ownership interest in that
 15 entity. Plaintiffs are also m:formed and believe that as of March 2019, Clay Taoner had already begun
 16 construction on his competing cannabis business.
 17      57. Plaintiffs contend that Clay Tanner used the confidential information he learned in his role as
18 General Counsel for Plaintiffs to form and operate this competing business within one half mile of
 19 many of the Plaintiffs entities in violation of his duties of care, and fiduciary duties as General
20    Counsel for Plaintiffs.

21       58. In or about August 2019> Clay Tanner formed 3550 Cadillac Ave, LLC. Plaintiffs are
22 informed and believe that this is another cannabis business that operates in direct competition to

23 Plaintiffs.
24                                             BBCLAWSlliT

25         59.       In August 2019, HBC and the Fund filed a lawsuit against Mr. Taf4 Mr. Holcombe,
26 and Jorge Burtin for breach of contract, fraud, breach of fiduciary duty, conspiracy to commit breach
27 of :fiduciary duty, dissolution of partnership and corporations, turnover .of corporate books and

28

                                                      -11-
                                                  COMPLAINT
Case 8:21-cv-01275-DOC-JDE             Document 1 Filed 07/28/21               Page 15 of 41 Page ID
                                              #:15




   1 records, and mjunctive relief entitled Hillsboro Brown Capital, LLC et al v. Robert Teft, Jr. et al.

  2   Orange County Superior Court Case No. 30-2019-01087702-CU-FR-CJC (the HBC Lawsuit).

  3       60. Plaintiffs are informed and believe that Clay Tanner drafted the original version of that

  4   complaint in order to obtain an advantage over his former clients.

  5       61. That complaint was quickly amended to add Plaintiffs (with the exception of The Four, LLC)

  6 as derivative defendants. Plaintiff, The Four, LLC, is a direct defendant in the HBC Lawsuit.
  7       62. The com.plaint in the HBC Lawsuit bas been amended two mo:re times to include a third
  8 amended complaint and now includes more than twenty causes of action.

  9       63. Plaintiffs are informed and believe that Clay Tanner drafted the complaint in the HBC Lawsuit

 10   that now names several of bis former clients as derivative defendants, and one former client (The

 11   Four LLC) as a direct defendailt.

 12      64. As a result of Clay Tanner's unauthorized and negligent practice of law in California,

 13 Plaintiffs now are embroiled in a lawsuit brought by two investors who are either owned or controlled

 14   directly to indirectly by Clay Tanner. This lawsuit is costing Plaintiffs substantial attorneys' fees and

 15 costs and is preventing the progress and growth of Plaintiffs.

 16                                       STATUTE OF LIMITATIONS
 17      65. Plaintiffs have discovered within the last twelve months that th.err former General Counsel
 18 formed an entity in direct competition with their business and usurped at least one corporate

 19 opportunity in order to form and conduct that business.
 20      66. On July 6, 2021, Clay Tanner produced for the first time, in the HBC Lawsuit, documents

 21   relating to the Firm's IOLTA Trust account evidencing his sole control over investment money

 22 intended for CPPG, PMH, and CMX, documents summarizing the payments made to the Firm, and

 23   emails, and other documents suggesting the nature and extent of the legal wod:. her performed on

 24 behalf Plaintiffs that was in violations of his duty of care, his :fiduciary duties, and in violation of

 25 California Law end ethical standards.

 26      67. On April 29, 2021, Clay Tanner was deposed in an action related to this case entitled Hillsboro

 27 Brown Capital, LLC et al v. Robert Tqft, Jr. et al. Orange County Superior Court Case No. 30-2019-

 28 O1087702-CU-FR-CJC. During bis deposition testimony, Clay Tanner disclosed for the first time the

                                                       -12-
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Case 8:21-cv-01275-DOC-JDE              Document 1 Filed 07/28/21               Page 16 of 41 Page ID
                                               #:16




   1 nature and extent of his breach of duties to Plaintiffs, the formation.of a competing cannabis business,

   2   and usurpation of Plaintiffs corporate opportunity with The Habit. Therefore, the causes of action

   3 alleged in this complaint are timely brought against Clay Tanner and 1he Firm.
   4                                       FIRST CAUSE OF ACTION
                                               Professional Negligence
   5                                              (All Defendant!)

   6       68. Plaintiffs reallege and incorporate by reference as though fully set forth herein, each and every
   7   allegation contained in paragraphs 1 through 67 above.

   8       69. Defendants owed Plaintiffs a duty to have a degree of learning and skill ordinarily possessed

   9 by an attorney who practices and provides legal services in the same or similar locality and under the
  10 same or similar circumstances.

  11       70. Defendants owed Plaintiffs a duty to use the care and skill ordinarily exercised in like

  12 circumstances by reputable members ofthe legal profession practicing :in the same or similar locality

  13 tmder 1he same or similar circumstances.
  14       71. Given that all Defendants legal services were provides to Plaintiffs in California and based
  15 upon California law, Defendants owed Plaintiffs a duty to conduct themselves during the course of

  16 Defendants' representation of Plaintiffs' interests in accordance with the California Rules of

  17 Professional Conduct, as codified in the California Business ad Professions Code, and to adhere to

  18 the principals of ethics, honesty, and integrity in the performance of legal services on Plaintiffs'

  19 behalf
  20      72. In doing the tlrings herein alleges, Defendants failed to fulfill their respective duties to conduct

  21   themselves during the course of Defendants' representation of Plaintiffs' interests in accordance with

  22 their professional, ethical, of fiduciary duties and adhere to the principals of ethics, honesty, and

  23   integrity inthe performance oflegal services on Plaintiffs' behalf.

  24      73. Specifically, Defendants' failure to disclose 1heir lack oflicense or authorization to practice
  25 law in California, as alleged, ·fell below the standard of care required of an attorney and a law firm

  26 required by law.

  27      74. Also, Defendants' failure to comply with the California Rules of Professional Conduct,

  28   including but not limited to Rule I.7 (formerly Rule 3-310), and disclose the full nature and extent of

                                                       -13-
                                                     COMPLAlNt
Case 8:21-cv-01275-DOC-JDE              Document 1 Filed 07/28/21              Page 17 of 41 Page ID
                                               #:17




   1 their potential and actual conflicts of interest when providing legal advice and perfonning legal work
  2 in California fell below the required standard care that must be exercised by an attorney performing
  3 those legal services.

  4       75. Also, Defendants' failure to communicate the nature and extent of the legal work they

  5 performed before abandoning their clients fell below the required standard care that must be exercised
  6 by an attorney performing those legal services.
  7       76. A1?J a direct and proximate result of Defendants' reckless and/or negligent acts of misconduct
  8 and Plaintiffs' justifiable reliance in the perceived integrity and ability of Defendants, and each of

  9 their conduct, Plamtiffs continued their attorney-client relationship with Defendants, and each of

 10 them. unwittingly putting their business and :financial interests in the hands of counsel with

 11 undisclosed conflicts and divided loyalties during the course of that relationship.
 12       77. As a further direct and proximate result of Defendants' conduct and Plaintiffs' justifiable

 13 reliance on the perceived integrity of Defendants, and each of their conduct, Plaintiffs have suffered
 14 considerable economic dam.age including, but not limited to, debt for undisclosed loans and

 15 transactions, substantial attorneys' fees and costs incurred to Plaintiffs' successor counsel in order to
 16 mitigate damages caused by Defendants' misconduc~ such additional economic and consequential

 17 damages arising out of Defendants' .misconduct according to proof, and collectible interest from the
 18 first day allowed by law and as prayed for herein.
 19       78. As a further direct and proximate result of Defendants', and each of their misconduct, as
 20 alleged herein, Plamtiffs have engaged and retained separate legal counsel to investigate> prepare and

 21 prosecute the claims herein and have incmred and will continue to incur attorneys' fees and related

 22 litigation costs until this matter is resolved.

 23                                     SECOND CAUSE OF ACTION
                                            Breach of Fiduciary Duty
 24                                             (All Defendants)
 25      79. Plaintiffs reallege and incorporate by reference as fuough fully set forth herein, each and every

 26 allegation contained in paragraphs 1 through 78 above.
 27      80. As a result ofthe trust, faith, and confidence Plaintiffs placed in Defendants, and each ofthem,
 28 as a result of Defendants', and each of their service to Plaintiffs as trusted legal counsel, a :fiduciary

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                                                      COMPLAINT
Case 8:21-cv-01275-DOC-JDE               Document 1 Filed 07/28/21               Page 18 of 41 Page ID
                                                #:18




   I   duty was created and did arise whereupon Defendants owed Plaintiffs a duty to act with the highest

  2    degree of trust and good faith and with the utmost care in the handling of Plaintiffs' affairs and not

  3    obtain or seek to obtain any advantage over Plaintiffs by the slightest misrepresentations,

  4    concealment, or misdeed.

  5        81. Prior to and throughout Defendants' representation of Plaintiffs in relation to the various
  6    aspects of their cannabis businesses~ Defendants, and each of them, intentionally and/or recklessly

  7    concealed, and intentionally and/or recklessly failed to disclose, within the meaning of California

  8    Rules of Professional Conduct 1.7 (fonner Rule 3-310), the material facts and relevant circumstances

  9 relating to Defendants' unauthorized practice of law in California, their actual and potential conflicts

 10    of interest in their representation of the various Plaintiff entities, their investors, their competitors,

 11    and their intent to use the knowledge gained from confidential information they received in the
 12 representation of Plaintiffs to their own advantage at the first available opportunity, including but not

 13    limited to the usurpation of corporate/business opportunities.

 14        82. Defendants had a professional and legal duty to obtain all clients :informed written consent in

 15 light of the potentially adversarial :interests between Plaintiffs, and its investors, and Plaintiffs and its

 16 potential competitors.
 17        83. Defendants also breached their duty of undi'Vided loyalty and duty of diligence owned to

 18 Plaintiffs by repeatedly, recklessly, and/or with gross negligence failing to act with the commi1Jnent

 19 and dedication to Plaintiffs; best interest in connection with Defendants' involvement with (1) the

 20 preparation and handling of the Fund's·First and Second Offering Memos, and the money raised from

 21    the Fund; (2) the failure to obtain any contract with PMH!fHP's construction contractor, (3) failure

 22 to properly handle the Fund mvestments escrowed through Defendants' IOLTA Trust account, (4)

 23    Defendants' failure to properly document and manage the P:rdH!I'HP construction build out in order

 24 to usurp corporate/business opportunities, and (5) using confidential information obtained through

 25 their representation of Plaintiffs to form and operate businesses in direct competition to Plaintiffs

 26    (their former clients), including the usurpation of corporate/business opportunities.

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                                                     COMPLA1NT
Case 8:21-cv-01275-DOC-JDE               Document 1 Filed 07/28/21                Page 19 of 41 Page ID
                                                #:19




   1       84. Defendants also intentionally breached their fiduciary duty of loyalty when they repudiated

  2    and abandoned their attorney-client relationship with Plaintiffs in or about March 2019, in favor of

  3    their conflicting relationship with Plaintiffs' investors and competitors.

  4        85. In doing the things herein alleged, Defendants failed to fulfill their duties and, :instead,

  5    breached such duties as set forth herein.

  6        86. Plaintiffs allege th.at Defendants, and each of their breaches of duty as set forth and specifically

  7    incorporated here were either intentional and/or recldess and were carried out with a complete and

  8    utter disregard for Plaintiffs interests or well-being.
  9        87. As a direct and proximate result of Defendants deliberate and/or negligent acts of misconduct

 10 aud Plaintiffu justifiable reliance in the perceived integrity of Defendants' and each of their conduct,
 11    Plaintiffs continued their attorney-client relationship with Defendants, and each of them, paying

 12 substantial legal fees and costs to Defendants during the course of that relationship.
 13        88. As a direct and proximate result of Defendants' deliberate and/or negligent acts of
 14 concealment of material facts, Defendants' false promises and Plaintiffs' justifiable reliance on the
 15 perceived integrity of Defendants', and each of their conduct, Plaintiffs have suffered considerable

 16 economic damage including, but not limited to, debt for undisclosed loans and transactions,

 17 substantial attorneys' fees and costs incUtTed to Plaintiffs 1 successor counsel in order to mitigate
 18 damages caused by Defendants' misconduct; such additional economic and consequential damages

 19 arising out of Defendants' misconduct according to proof; and collectible interest from the first day

 20    allowed by law and as prayed for herein.

 21       89. As a :further direct and proximate result of Defendants', and each of their misconduct, as

 22 alleged herein, Plaintiffs have engaged and retained separate legal counsel to investigate, prepare and
 23    prosecute the claims herein and have incurred and will continue to incur attorneys' fees and related

 24 litigation costs until this matter is resolved.

 25                                     Third CAUSE OF ACTION
                Violation of Business & Professions Code§ 6125 - Disgorgement of Fees Paid
 26                                                (AD Defendants)
 27       90. Plaintiffs reallege and incorporate by reference as though fully set forth herein, each and every

 28 allegation contained in paragraphs 1 through 89 above.

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                                                      COMPLAINT
Case 8:21-cv-01275-DOC-JDE             Document 1 Filed 07/28/21              Page 20 of 41 Page ID
                                              #:20




   1       91. Defendants, and each of them, held themselves out as General Counsel for Plaintiffs, prepared

  2 documents and conducted negotiations on behalf of Plaintiffs and collected substantial attorneys' fees
  3 and costs from Plaintiffs despite their not being licensed or authorized to practice law in California.
  4        92. These acts and the corresponding breaches of Defendants' duties to Plaintiffs Were all in

  5 violation of California Business & Professions Code § 6125 prohibiting the practice of law in
  6 California without a license.

  7        93. California law does not allow compensation for the unauthoriz.ed practice of law within this

  8 State. (See, Birbrower, Montalbano, Condon & Frankv. Superior Court, l7 Cal. 4th 119, 127 (1998).

  9 at 127 (quoting Hardyv. San Fernando Valley Cham. of Comm., 99 Cal. App. 2d 572, 576, (1950)).

 10 and Golba v. Dick's Sporting Goods, Inc., 238 Cal. App. 4th 1251, 1264~5 (2015) (quoting

 11    Birbrower).) Thus, Plaintiffs are entitled to recovery of all fees and costs paid by Plaintiffs to

 12 Defendants totaling more than $171,694.50.

 13        WHEREFORE, Plaintiffs pray for judgment against Defendants as Follows:
 14           1. For general damages in an amount mexcess of the minimum jurisdictional limits of this
 15               Court;

 16           2. For compensatory damages, according to proof;

 17           3. For compensatory damages, including attorneys' fees and costs paid to successor counsel

 18               to mitigate the harm caused by Defendants misconduct;
 19           4. For disgorgement of all amounts paid to Defendants' as a result of their unauthorized

 20               practice oflaw in California and in violation of California ethical standards;
 21           5. For interest on the damages awarded, including prejudgment interest, at the legal rate,

 22               from and after the first day allowed by law;

 23           6. For reasonable attorneys' fees incurred in the defense of the HBC Lawsuit;

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                                                   COMPLAINT
Case 8:21-cv-01275-DOC-JDE          Document 1 Filed 07/28/21              Page 21 of 41 Page ID
                                           #:21




  1         7. For costs of suit incurred herein; and

  2         8. For other and further relief as the Court deems just and proper.

  3
  4
      DATED: June 25, 2021                   VANST LAW, LLP
  5

  6

  7
                                              By:
  8                                                 JACQUELlNE S. VINACCIA
  9
                                                    Attorneys for Plaintiffs
                                                    PURPLE MOUNTAIN HOLDINGS, INC.;
                                                    CENTRAL PARTNERS PARENT GROUP, INC.;
 10                                                 CMX DISTRIBUTION, INC.; ECS
                                                    LABORATORIES, INC.; BRAND PACK, LLC.;
 11                                                 and THE FOUR, LLC
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Case 8:21-cv-01275-DOC-JDE   Document 1 Filed 07/28/21   Page 22 of 41 Page ID
                                    #:22




                  EXHIBIT 1
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                                                         IJJ~N l(NIGHT
                                                               AND
                                                     noumrr TA.FT .rn.

       October 19, 2017



                This Summary of Term~ ("Tcr111 SJ ·•
        -         _          _                · -            lcet ) represents the current understnnding of Robert Taft
       Jr. and Ben Knight with respi:: ·t to ti         -· ·                ·                               -          -
                    . . ....                c      1e llUlJor rnsue.s l'clatmg to Klljght's proposed investment of capital
       and ~ontnbutmn of future servic~s to certain businesses affiliated with or related to Purple Mountain
       Holdrnas
              ::" •
                     lnc • (collectively • "P'dH"       cJ/       ..
                                            -•-~1 - rm - or the Compnnx".) While the terms and conditions agreed
       to herein may be subsequent1y addressed in u more formal agreement, this Tenn Sheet shaU constitute
       a legally binding agreement between Knight and Tatt, upo11 which Knight wiJl fund the Wtial Capitai
       as outlined below.

       Strategic Goals

           Realizing the unique oppurtunities created by the State of Califontia's passage- Qf Pmi;>osition:
   64. which goes into effect on January I. 2018, it is our goal to partner our resources--andeffO-rts;:i:P- .Pt'd¢r
   to aggressively grow the 420 Central business with the end goal of capturing a :large .share of ~e
   cannabis cultivation, manufacture, distribution/transportation and retail sale in So.1:1tb.em. C~itei:nta,..
   The Company's planned growth will be accomplished first through the e.x.p;u;ision e:>h:et-ail ©£lerations;
   (at the Company's current dispensary location) and simultaneous establ-ishmen~ of 4ist:tibuti.on Ql1!.d
   transportation channels of cannabis throughout Southern Culifomfa (to be- CO.Qducterj out Qf tho
   Company's distribution facility), and subsequently the manufacttlfe and: prO.d\!IC.tit;u_;j_i,)fvarif>us~annams
   and cannabis-related products, as well as other ancillru.y..related seniices (tq b~ c9ndli!:?t()·d at th.e
   Company's manufacturing facility), and finally into fhe cul~lvati©n of- c®na.brs pfallts (ill the
   warehouse located adjacent to the Company's retail dis.pensaqi.)

   Structure of Investment




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Case 8:21-cv-01275-DOC-JDE                             Document 1 Filed 07/28/21                 Page 24 of 41 Page ID
                                                              #:24
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                    ltl _exclmi~ge. for Knight"s Conu:Jbutiohs, at th . .             .•   .     . .          : • ·r
            percent (25%) inte'l'cst hl tf1e dist.l'ibulion com onen . : e Closing ~n.~ght JS recetv.ing: a twcnt ·-fiv: "';. •
            nUrelntedentit.ies)VCit.J;llf:lll LL11             P    .toftheC-ompany(r.c.CMXbistrJbuflo .y· y e, -_;,
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        Knigbt's Contributions
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                  In addition to his KnighCS Inili:.tl CnpitaJ Kni'gl1l . b              ••            .
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                     uny. J.-....11ght's role w1lJ be simiJar 10 ti. f        . .      .         . · · iuture servtc~ to
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                · · m • all major opcrationnl and                 Utt o a cluef operating office
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       th                        ·                ' •   management dccJSJons of the Co           . ( t         •·            '
          e o~er members in accordance with their llle1                 . . . .           m_pan~ a ong Wltb:Taft~ ~d
      operatmg agteements.). Such services will inclu~~ership rntc1~1s. and vot1~~ rights. under·npp:Ucable
      for operaLions of the C                           .            but not be hm1ted to, r.msmg aM nccessar:-u eamitar·
                                    ompany. overseeing all Je . J t         d      . .                             •·J   .I'
      of software assets to facilitate ...se ~d l         l ..   ga • ax an orgamzat10n11I structure, implementation
      {collectively. the "Services".)              c o sa e 'and other services lo be determined by Knight and Taft

                          Knight w·n         h"d        .
        .      .           .    . . i     e l e .foregomg services on a patHjme basis until such time· .as, me
                                        ..prov1
     dt_1stnbult1on.thfocr.h1hty Is fully operational, at which time Knight wiJI work towards a traru;ilion, to a fu''-l-
      1me ro e w1            e Company.                                                                              ·~ ·


     Procurement of Future Financing

             ln additio.n to his lnitial CapHal and ~ervices, Knight will also be responsible for precuring aU
    necessary ti nancm~ lO rneet the Company s growth goals outlined abov.e; .namely all financing.
    necess:iry for the bu~fdout of the Cum~any's ~~nufacturing facility. (Based upon c~nt ptojectioQ.S'.
   the bui1d-out costs for the manufaclurmg facTJtty are expected to range from $1.0-1.2 M_) AU suCb:
   financ~ng wH I be ~ai:s~d through the Company name and may ~e in the fonn .of d'eb~ 'financing,. eqtlity
   financmg. a comb1nauon thereof, or some other type of financmg structure.

          Upon procuring a commitment for the full funding of a.11 money necessary. fQr:the atart-up· aml
  operJtion of I.he manufacturing facility, Knight shall be assigned a 25% ml1!mbership futer.est in the.
  milOufacturing component (i.e. Toronto Way Partners. Inc., and all related entities)~

 Redem ption nnd Assignment of Membership Interests in Central Pattners·
                                                                                      -              '

           Upon the .redemption of the 33.75% of membership interests in Centta1P~e.r.s .Group. In~.. . _
 which interests are currently owned by Mike Donovan and Paul.Cuss1(ly, Ki:light.sball be. a.ssf~ l0~% ...!..:~ ~­
of .sucb.. l!i.erribership -interests, and Robert Taft and. Jeff Holcombe ·shall be ij&Sf8Ded th!' rem~
23»75%. the resulting ownership of Central Prutne~ GrQup,, Inc. shall be ·that 1.B._ 'ffurton W.iil'o :·
25%, Taft wiH own 28-.15%, Jeff HQlcom'be wi-U <,'lWil. 28. 75.%, Adam A.gathakis will own 1:~                           ·
Knight w111 ow.n. -10% of the membership interests in Central Partfl~rs Groap, Tu.c. For ~e 1£V
ofdoubt,. each member shall be ·r¢sp.onsi.ble for-an prt)flts and I~sses jn ~c-0orda;nce ·~~J\ ·
o.wnership p.e,rte.nta:ges fri. Central P'artners..Gro~p, Inc,           ·        .       ' .-     :.: · ~·:::: -~ -
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           Case 8:21-cv-01275-DOC-JDE                     Document 1 Filed 07/28/21                    Page 25 of 41 Page ID
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             .S.ecn~ity for Initial Cnpitnl                                                                                  "

                         As security for the Initial Capital. the Com         ,   .    .    .                              ,
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             Knight. such that Knight shall have lhc right 10 eitercise Lh'              . . '         · e Pol! ged as secur1~y to·
              ~~ b I K . I           . . . l1           I.           . '           is option to purchase the pro rty .b h If
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             Kmght has nol. recouped htli ln1lm1 C<ipital. All net pr                 d      .    .· ny not profit11ble and/Of
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             exercise of the option to purdm~c and suhscciucntly sell •L. d' 'b .. .                 .          ion wn       mght s
                                                                                  me 1stn uuon fac1Hcy shall ·b . J..
             between Tuft nnd Knight.                                                                               esp it equ~ 1Jy

            Estimnted Clo.sing Date

                    Knight's attorney \Vil I prepare the legal documents contemplated by this .agreement. with the
            goal that all .such documents will be- executed and the required initial portion of the lnitia[ Capital i.s
            funded no later than Octohcr 26, 2017.

            Assignment Rights

                     Knight shall have the right to transfer or assign his rights hereunder, in whole or jn part., to an.
           entity which is controlled by. or whii.:h is under common controJ by Knight, provided· Uiat Kni;ght's.
           entity agrees to be bound by the provisions under this tellll sheet and the applicable operating
           agreements.

           Salaries of l\fanagement

                  So long as Taft is not taking a salary from the manufacturing or dislributioncomponents,of the.
          Company, Knight will no! be entitled to a salary for performa11ce of his Services. However, snould
          Taft or any other members take a salary from the manufacturing or distribution compo~nts: of the.
          Company, then Knight wiU also be emitled to a reasonable salary, in proportion to any other safaries.
          being paid, the amount of which will be determined by the pnrties in good faith. ·

          Transfer Restrictions

               Other than permitted transfers (i.e. for estate planning purposes)., all future tiimsfer:s .of
         membership interests shall be made in accordance: with th~ operating agreem..ents· for the respeeti-ve
         comp.mii¢s.


         Preeniplion .Righ.ts

                    All m.emb.e:rs, "including Knighti ·will have th,e .rig:b.t to in.vest it:i futui:e: ~. L~~._0 ·
    -~:.. :bei~g-diluteii'. This d.oesntt mean that member~ )nclIJdll'lg,·Kilight,_ ate req_~f~0
         Case 8:21-cv-01275-DOC-JDE               Document 1 Filed 07/28/21                 Page 26 of 41 Page ID
                                                         #:26
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  JJ!inidjltiOD l'referenai                                                                                     .· ' _'. ·: -:'.'.<;:'. :':_;}~;~ :

          In the event of a change ol~ contr~l of lhe Company, liquidation, dissolutiQri ,<\Jt·w..in4~g:-~f-~~;.':· ~ ;~:
  the company or similar event, Kmght will be entitled to receive, as a liquidation prefetenc:~plij~r·~$ll), · .. ' . ·
  payment of any other cupital account~. u:e ~no~mt Of Knight's Initial Capital that has::beeJl m:euedb.nt. ·.
  not repaid by the Company. Aflcr tl~1s hqu1dat10n preference has been paid, all remaining funds :&n~
  assets of the Company legally available for distribution to the members in accordance. v/.ith Ure
  distribution provisions set forth in the Company's operating agreements.                                                   .   · ·

  Future Business Opportunities

         If at any time either Knight or Taft become aware of, or develops, creates, or. invest$- in a~y
  cannabis-related business opportunity or venture, the discovering party agrees to no.tify the: pon-
  discoverjng party of such opportunity or ventw·e and use good-faith efforts to allow the no.n-
  discovering party to have an equal option to invest or pruticipate in the business op.portunity ·o r ventuie.
                                                                  ,J
         Executed by Robert Taft Jr and Ben Knight this!:!:_ day of October~ 20:!7.




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                                                     RobertTaftJr.




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Case 8:21-cv-01275-DOC-JDE   Document 1 Filed 07/28/21   Page 27 of 41 Page ID
                                    #:27




                  EXHIBIT 2
Case 8:21-cv-01275-DOC-JDE                  Document 1 Filed 07/28/21                     Page 28 of 41 Page ID
                                                   #:28




                                     JOINT VENTUREAGREEMENJ

         THIS JOINT VENTURE AGREEMENT ("Am:eemenet) is entered into and made effective
   this ~~ day of November, 201.7. by 1µ1d among Robert A. Taft., Jr. f'I!fi."), Jeff Ho~mbe
   eHolcombe"), Jorge Burtin, in his personal capacity and as 1rUstee for The Jorge Burtin family Trust
   and .The Rosalba Burtin Family Trust ·(collectively. l&Burtin"). and Hillsboro Brown Cupit.al, LLC
   ("J:llli:'), eaoh referred to individually herein as a '4JV.'Partner' and collectively aa the 14JV Partners. tt

            WHEREAS, the JV Partners.have· entered into a Joint Venture (the "Joint ve·ntur.e") to fonn~ .
   license, launch, operate and. manage vmous ~annbbis-related business ventures1 including for the
   testing, manufacturing. distri~ution and retail sale of cannabis products ·(each a •-rroiect•' and
   collectively RS, the "en:deets"}.

             WHERBAS, the N Partners have fonned several entities (eaeh a "JV Bntl.!Jt and collectively·
   as, the •'JV Entities") in which to ho)d and operate lhe Projects. lt is the Intent of the J~int Venture that
   each Projoot be ·held in separate JV Entities so as to segregate the assets and liabilities of.each Project.
   The oum:nt list of JV Entities owned by the Joint Venture is included hereto as Exhibit A, which
   exhibit will be updated from time to time to refleot new JV Entities acquir-ed by ot disposed of by the
   Joint Venture.

           WH.EREASrit is the intent ofthe-N Partners that cm.ch JV Partner own the pcmicntage interests
   and right$ in each Project reflected in this Agteemei\t, despite how o\Vnemhip ot management of any
   Project is reflected in :filfugs with the state or the N Enticy~s governing documen1s.

           WHEREAS. the 1V Partners·wish lo hereby set forth the rights and ownership telatingto·caeh
   Project and the JV Entities.                                                              ·

           NOW, THEREFORE, in consideratiQn of the promises contained in this Agreemen~ the N
   Partners hereby agree as·follows!

   1.      Cap!tali"Lation and Fiwm.Flal MaffMs.

           {a)     [t is acknowledged and agreed. that Taft and Holcombe have made -their <:apical
   contributions in full as of the date of this Agreement~ including through catnJ)aigning and lobbying
   services and by increasing the·value of the ~ts owned by the N Entitie:t, and that no further capital
   contributions shall be required ftom Taft or Holeombe.

          . (b)    Jt is further acknowledged-and agreed that Burtin has m:ade its cupitaJ contrib11tion in.
   full through the contribution of 1685 Toronto leased. to the Joint Venture and the grant of the purohase
   options herein granted.




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Case 8:21-cv-01275-DOC-JDE                 Document 1 Filed 07/28/21                                    Page 29 of 41 Page ID
                                                  #:29




            {c)     HBC shall make its capital cootn"bution in t11e amount of ruo.000.00 C'CapitBl
   Contribution•') promptly following full execution and/or filing with the State of all corporate and
   governing documents for all JV Entities listed on Appendix A, amended to reflect HBC. as n
   shar'1hoJder or member in accordance with this Agreement. All funds received from HBC will be
   placed in the operating bank account for Purple Mountain Holdings, Inc, .C"OO!''J and, promptly
   foHowingtbe date of this Agreement Ben Knight, as the Authorized Agent of HBC. shall be added as
   a signat-0ry on such bank ne«>unts or any other deposit accounts in which any portion of HBCt s capital
   contribution is or will be transferred. (The parties acknowledge that $60,00ll.OO .of HBC's Capital
   Contribution has already been funded via wire tran$fer to PMH.)

          (d)   · All contributions to be made in kind or services, including the value of such~ shall be
  ~pproved by all N P~ers.in writing, which writing may include eJectronic wmmunic;ations.


          (e)    The- N Partners acknowledge and agree that any money due ftom Chris Kenik·
   following CUP approve] Is due and payable to Taft and not the Joint Venture or a11y other N Partner.

         . (f}     All profits und Josses·from the Projects    wm     be djvided pro rata in ~portion to the
  QWUer~hip_in each Project Pi'.Qfits will be distributed no less than month1y;pravlde4, however. (i) no
  profttsfrom any JY Entity holding a cond/tfonaf use permit ("CUP'') or other license to manqfacture.
  test dbttrlbute or sell CC1nnabis may distribute OJU' proflts· to any JV Partner until al le11S1 January, 2018
  or such later-date DJ mandated by SlaJe Jaw, and. {ii) all profits distributable to Holcombe and Burtin
  will be paid·to Taft until he is reimbursed for all monies paid by tiim for ntl rents and other costs
  relo.t.ing to the real property for the J>rgjccts, whieh fl.fO. doownented in writing by Taft prior to ·full
  reimburs~mcnL Notwithstanding the foregoin~·~ N Entities shall keep sufficient capital ~erves to
  operate their te.iiipeetlve Projects.

         2.       Redemption and Assignment or Mernher!bip Interesls in Centntl Partners
  GrotlP. Inc.

           (a.)·   Upon the redemption of the outstanding.shares owned by Mike. Donovan and Paul
  Cassidy jn Centraf Pprtnors Oroup. Inc. f:'.CPG'') (which interest is equal t.o 33.75% of tho outstanding
  shares in CPO), HBC shall be assigned· sh a.res equal"to l 0% ofthe outstanding shares in CPO, and Taft
  aod Holcombe shall eaoh.be assigned addition.al shares equal to 16.875% of th~ outstanding shares in
  CPO. These shares shall be issued to HBC1 Taft and Holoombe with no further eon.sideration owed by ·
  these N Partners. Regardless. of the foregoing, howevtit» tlie~ rihall be no a!;Signment ofshares unless
  and until such time as CPO reaches an agreement with Mike Donovan 11nd Paul Cassidy to redeem
  such shares. For tho avoidance ofdoubt, upon CPO,s redemp-cl-On and subsequent a_sgjgnment of shares
  to HBC, Taft and Holcombe. the resulting owncarsliip of CPO will be trutt Burtin <>wns 25%, T11.ft owns
  28.75%, Holcoblbe owns 28.75%, Adam Agathidds owns 1.S%, and HBC owns 10%. (It it e1'.prellllly
  aeknowledged and agreed to by the N Partners that Taft and .-iotc:ombe may assign up to 1.s% of its
  ownership interest in CPO to a third party as collateral for raising :money necessary for th~ build..:out
  and start"Up of the manufacturing project. and the-other JV Partners will not~ requirod to iivC-up any


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Case 8:21-cv-01275-DOC-JDE                   Document 1 Filed 07/28/21                  Page 30 of 41 Page ID
                                                    #:30




   additional ~quit)' in CPG for such.) Further for the avoidaiwe of doub~ e<1.ch shareholder shall be
   responsible for aU profits and losses in accordance wi.th their respeotive oWnership percentagM in CPG.

          3.     Secrurill: C<OC,BBC's capital ContribUtiou. Aif security for HBC~s Capital
  Contribution. CadiDax Partner~, LtC (and/or PMH) shall assi~ its option to purchase ("Dlstributiou
  furl!hase Optlon,.) the property located at 3SUS Cadillac Avenue, Unit N-3. Costa Mesa1 CA, .which
  Option Right is set forth in that certain Standard Industrial/Commereial Single-Tenant Lease datoo
  February 12. 2017,-by flnd between the Russ Family Trt1$t. as landli>rd. llnd -CadilliiX Partners.~ LLC,
  as tenant {the "OiStribution Leaseti). HBC m11y exercise the Distribution Purchase Option at any time
  in the event this Agn=ement is breached andJor- HBC has not~ it' Capital ·contribution.and any
  other obligations for which it may become liable fur in the-future as_ a result of the Joint Venture. (n
  the event HBC exerci~a. tha Distributkm Purobase Optlt>fl. 09011 tbe sllle of the dittrlbution faeilit;y ti)
  a third party. HBC shall be entitled to reccivi: the ·full .amount of its outstanding Capital Contribution .
  that remains unpaid. and after tho Capital Ccntributi~n has been paid back to HBC in full~ Bny
  remaining net pr®eed5 received ht connection with a snle of the pTQ~rty shall be: split equally between
  PMH and HBC. The patties acknowledge·and agree that a mem.orandwn evidencing, the Di$lri~tion
  ;Purobase Option tn favor of HBC may be recorded in the public records for Orange County, Califom la.

                4.    rmfect Qmlenhip.

                (a)   The Joint Venture currently OWI'IS or leases the following Projects~

                      •       1685 Toronto Way, Costa Mes.a. CA 92626 (4\1685 Toronto'');
                      •       3505 Ctdillac Ave.~ Unit N-3, Costa Mes11; CA ~626 (ccCadillae. N:..:311);
                      •       350S Cadillau Ave.• Unit F-7. Costa M~ CA 9262.6 (''CagUlaC P-7")~ ~nd
                      •       420 W. Central Avenue, Santa Ann. CA 92727 ("llttaU Store'i.

        All Project.!racqulred by the Joint Venture-in the future will be su"ject'to the terms of"tliis
  Agreemenr.

                  Except llS otherwise set forth in Section 2 above. the N Partners shall have the
                (b)
  foil owing beneficial ownership in ~vary Project currently owned or later acquired, and operated by the
  Joint Venture: Taft: 25%: Holcombe: 25%; Burtin: 2S%; HBC: 25%.

             (c)      HDC will use its best efforts to procure, on behalf.of the N Entities. al-I necessary
  · financing for the buildout and startup of the manufacturing project at Jii85 Toronto. Such financing
    for. 1685 Tol'Ol1t0. may be rali~ed by HBC th.rough debt finnnclng. equity financing.. a liybrid ofdebt ·and
    equity. or some other type of fmancing. (Based upon current projection$~ the l;nrlld-out JU!d &tart...\lp
    costs for l 685 Toronto is expected 'to be appmx.imately $1.0-l ,2M.) Upon ·closing on the-funding for
    the build~ut and stait-up of t 685 Toronto, HBC shall be assigned shares· equal t<? a 25% owneI'Jhlp
    interest in 1he manufacturing ope.rating onttty (Toronto Way Partners, Inc.) and any a.ffiliated entities,
 . .at no rurther cost io HBC .




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   Case 8:21-cv-01275-DOC-JDE                     Document 1 Filed 07/28/21                Page 31 of 41 Page ID
                                                         #:31




              (d)     Except as set forth in Section 2 abmte, -all N Entities !lhlill be beneficially owned b}'
      the JV Partners in the percentages listed in subsection (b)° above. The JV Partners acknowledge that
      some entities may ht!.ve record shareholders that result.·in different ownership pe-rcen1ageJ than
      reflected in subsection (b), but that benefioiat ownership shall be as indicated 1n subsection (b) in any
      case. As of the date hereo( the N Partners. m?t including HBC, represent and warnrit that all of the
      shares authorized for each JV Entity have been issued rutd are outstanding.

              (c)        The·JV Partners, not-imiluding~C, furtlierrep~tand ~ttbat (a)thereare no
     outstanding options, warrants,. rights (including conversion ot preemptive rights aild rights of first
     refusal or simillr rights) or agreements, ~rally or in·writing, to pu~htise or acquire ftom any of the JV
     Entities any shares of stock (common or preferred)~ or any sec::urities convertible ioto M e.xohanged>le
     for shBr-es of stock; and (b) all outstanding shares of th~ JV Entities1 stock are subject to a right of firm
     refusal jn (avor of the· applicable N Entity upon any proposed transfet {other than transfers for estate
     planning putptises).

             (f)    No other parties inay be added to any N Ehtity or Project without the unnnimous vote
     ofall of the N Partners listed herein.

          _ {g)        . It is the intent of1he N Partners that alt IV Bntltfcs ultlm1\tely be held by PMB as ihe
     record sharehOlder unless state licensing would prevent such ownership. at whlch time· the N Partners
     shall mutually agree ro the record ownership for those 1V .B11tltles not held in PMH.          ·

             (h)         Excep~. aii othetWiSe set forth herein, all material decisions for any Project must be
     approved by JV Partner~ holding at least 7~4' of the outstan<J!ng shares for suoh N _F.ntity.

             S.          Real Property Matten.

             (a)      It is acknowledged and agreed that 16BS Toronto ls owned by The Jorge _Burtin Fiunily
     Trust and The Rosalba Burtin Family Trust. B~rtin hereby gtants m option 10 purchase 25% Qf ~
     Toronto Property to Taft for a purchase price equal to 2S% of the amount paid by Burtin to acquire the
     Toronto Property ("Opti.gn Peroentage Price''), plus interest equal to 6% cpmpounded per annum of
     Option Percentage Price beginning to acotue from the date of purchase by Burtin. Burtin hereby grants
     an option to purchas~ ~% of'lhe Toronto Property to Holcombe for a purchase price equal to 25% of
     the amou.nt paid by Burtin to acquire the Tol'()l'tto Property. plus inte~t equal to 6% compounded ~r
     annum of Option Perctmtage Price··beginning to accrue uom the date of purchase by Burtin. Burtin
     hereb)i grant$ an option to purchase 2S~ ofthe Toronto Property to HBC for 11 purohase price equal to
     25% of tho amount paid by Burtin co acquire the Toronto Property, plus interest equal to 6%
     compounded per,annum of Option P&i«ntage Price beginning to acoru~ from ·the date of pui(:hase by
     Burtin. The above purchase options shall t~inate upon termination ofthis Agreement=or 25 years.
     whiehevcir is earlier, and are granted hi consideration for each JV Partner•s execution of.this Agreement ·
     and addiUonal service& to tM Joint..Venture not included as capital contributions. In addition to the


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Case 8:21-cv-01275-DOC-JDE                  Document 1 Filed 07/28/21                   Page 32 of 41 Page ID
                                                   #:32




   foregoing options to purchase in favor of each. N Partner in aceordance. with his percentage set forth
   above, if a.t any time Burtin wishes to sell the Toronto Property to a third party• .Burtin shall first offer
   ~ the other N Partners the opportunity to purchase his percentage of the Toronto Property set f'orth
   above, atea(\h applkable JV Partner's Option Percoemage Price. Each.JV Partner shall have thirty (30)
   days during which to accept said offer. If any N Partner does not .accept ·said offer within such 30-
   day period, Burtin sluUI be free to sell 1he non-~pting JV Partner's percentage Jilterest to lhe thircf..
 . party offer. In 1he event ariy JV Partner does not ex.eroise its rignt of first refusal in accordance with
   the foregoing. if Burtin does not enter into an agreement with a thhd party and close on the trarisaotfon
   within ninety (90) days thereafter, each N Partner's option to pur~hnse set furth· above·shalJ survive
  and agaln be: applicable.

          (b)     Should any other JV Partner ac.qulre any other real property to be used ~Y the Joint
  Venture in the future,. hefrt lihall grant the Joint Venture arr option to acquire such property on p8r with
  the above oonditioris (i.e. pro rata in proportion to the JV Partners• ownership percentages in. the Joint
  VCl1tuno at a pUrchase price equal to the amount paid for the.properly~ plus 6% per year interest).

           6.       Rirht of !int Reftraa.I. No JV Parmer shall effect a transfer or disposhion e.f it,s:
   interests in the Joint.Venture or any N Entity Ol' Project to. a·third party (a "Restricted Transaction")
   without first complying with the fimt~re~sal provisions of th.is section 6.-

           (a)       ~-Prior ton N      Partner effecting a transfer that is o Restri'lted Tr811S1Wtion. the JV
  Partner first shall deliver tQ tho other N Partnors a written notice {the "Transfur Notice!') of sueh
  proposed tran:sfer, setting forth the name of lbe proposed reeipiettr or transferee of the shares. lhe
  portion of the Interests proposed to be transferred (the "Offered Interests"), and all terms and condltiDns
  of the proposed transfer. The N -Partner's detivezy ofsuch Transfer 1-fotice shall be deemed to be an
  offer to seH such shares to tho other JV Partners-on the tenns and conditions set forth in such No~foe~
  pursuant to this Section 6.

           (b)    Purcbf!S by N P~a. During the. perloo of fifteen {15) days 'f<>llowing·delivery of
  Notice, eaoh other- JV Partner may elect lo purchase all or any portion of such Offered Interests by
  deUvering to tho selling N Partner n written instrument speeifylng the portion of $UCh Ofteicd InteJtsts
  that the JV Partner eJects to purchase. Ifthe other JV Partn·ers In the aggregate titneJy elect to purchase
  more than the Offered Interests, then the Offered Interests_shitll be apportioned among the subscdbing
  JV Partners in proportion to their respective holdings in the Joint Venture.

            (c)      Closing. lfthe emiro Offia'ed Interests proposed to be transferred is subscribed for·as
 · provided in Sections 6(b), above) then the closing nfthe putchase nnd $1110 of those Offemd Interests
   shall be held on 'the date specified in the Transfer Notice, but in no event ·later than thirty (30) days
   after it is detennined which parties are entitled tQ pUrchasc sud:\ .OffeRd Interests. At the olosbig. (i)
   the soning N Partner shall execute and deliver an assignment or other transfer instrument in
   commercia.Jly reasonable fonn (including a warranty as to title) sufficient to vest in the purchasing JV
   Pertner(s) title to the· Offered Interests, ~e and clear of all Hens and claims whatsoever, and (ti) the
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  Case 8:21-cv-01275-DOC-JDE                   Document 1 Filed 07/28/21                     Page 33 of 41 Page ID
                                                      #:33




      purohasing JV Partner{s) shaU deliver tlte ·purchase conside1'11tion in suoh a.mowrt and in such ·fonn as
      i.s specified in the Transfer Notice.                                      ·

              (d}    Eailure to Purchase, If the other JV Partners fail to clect"to purchase pursnan't to the
      foregoing provisions otthis Section ·6 lllly Offered Interests, then the selling JV Partner th~r-cafter may
    , transfer or assign such remaining Offered.Interests to the pem>n named in the Transfer Notice at the
      price and on the ·terms and conditioris set forth. therein. However, ff the ~ellmg JV Partner fiiils to close
      the transfer of the Offered Interests to the person named in the-.Transfur Noti~e within ninety (90) days
      aftt;r iexpiration of1hc el~lon periods specified tn Sections 6{c) above. then such right shall tenninate
      and the selling JV Partner d1ereafter $lµltl not sell or transfer suc:h Offered Interests to any pmon
      without first again co~plying wJth the provisions of this SectJon 6.

           · (e)     The terms of this Secti~n 6 shall apply to the C>Wn~JShip interests of all JV EntffiCs .
      whether or not sueh rights ue enumerated in the N Entitie.s.t governing documents.

              7.       Ti'ilgden it.Death attd U1190 Dlvgree. Notwithstudin8 any other provisions of this
      Agreement:

               (a)      Divorce. lf, In conrieetion with the divo~ or dj550lution of the marriage of any JV
       Partner, any court issues a decree or order·that trimsfers. confirms. or awards QWll.el'Ship interests In
       any of the N Entities, Projects cir this Joint Ve~ture ('•QwnerSlljp Interest:S;'). or any portion thmof,
       to any Person otb.or than tho JV Partner, then the other JV Partners shall have.the right and obligation
       to pure~ from sueh.N Pm:1ner his or its Ownership Intetests that wrui -so transfettedt and such
      ·transferee shall have the obligation to sell the Ownership Interests to the other JV Partners, at the price
       and on the tenns-s·~t forth in Section ?(fj, The tenn 1'pers0n'" shall intilude entities and association~ as
      well as natural persons.

              {b).     Death ofJY ParbW's Spouse. I~ by reason of the death of a spouse of a JV Partn~,
      any portion of shares Is transferred to a· pemon other than that N Pttttn~ then· the N Partner $h&ll
      have the right and the obligation to purchase the Ownership Interests or portion thereof ftont 1hc eshlt¢
      or other successor of his or her deceased spouso or transferee of such deceased spouse_.The estate.
      s~$$0r, or transferee shall haw the obligation to sell the Ownership Interests or portion thereof at·
      the price and Qn the terms set·forth in Section 7(f}. Ifthe N Panner has failed for any reason to purchase
      the Ownership lnteres'b within ~ixty (60) days after the date of death, the N Pvtner immediately shall
      give notice to the other N Partners, who shal1 have the riaht to purchase Ute Ownership Jnterests·ftom
      the estate or other succossor of the deceased ·spouse, and the eslttte or other .successor of the deceased
      spouse shall have. the obligation to sell the Ownership lntercsts to the other N Partners, respectively,
      at the price and on the tenns set ·rorth i11Section7(e) and {Q.

              (c)      Death of .lV Partner. Upon the death of any JV Partner, the per?!onal represenrative Of
      the estate of the deceasetl JV Partner or trustee of any trust holding shares established by any deceased
      N Partner shall have the; authority to act on behalf of such estate or ttust of the deceased JV Partner


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Case 8:21-cv-01275-DOC-JDE                  Document 1 Filed 07/28/21                   Page 34 of 41 Page ID
                                                   #:34




  with respect i~ exeroising the ~eased N Partner•s ri# for the purpose of se~ling the deceased JV
  Partner's estate or adminiatedng the deceased N Ptn1ner1s property,..including any pcwer the defleaaed
  JV Partner~s has under this Ai~ment. It by reason .ofthe death of the JV Partner. any p(}rtion of an
  Ownership Interest: ls transferred to. orwould otherwise be distributed to a pel'90n that is not an existing
  JV Partner. then the estate or other successor or transferee immediately shalt give notice to the other
  JV Partn~rs who shall have the right to pun:hase from the estate·m other successor or transferee of the
  deceased N Partner, and the estate ot oth~r suecessor or transferee of the deteased JV Partner shall
  bu"\"t the obligation to seill the Owner$hlp lnterest:no the other N Partners, respeclively. at the price
  and on the terms set forth in Sections 7{e) and 6(.tj .

          . (d)    Failure ro Purchase. If the other JV Partners fail to elect aud putchtitr!he·entirety of
  the Ownership Interests pursuant to the foregoitig provimons of this Section 7, then the Owner.ship
  Interests shall be ~rred to the non-permitted tnlnsferee, Any person who obta.im shmus pursuant
  to this Section 7 Bhall hold such OWnership Interests subject to all of the provisions of'this Agreerttent
  and &hall make no further tnmsfci'B except in aooordence with this Agreerntint.

            (e}     Purchase Prif!C. The purchase priee of the Owncsrshlp Intc~sts that are the subject o.f
  an c;tption to purcltase under this-Section 7 shall be the fair market value .of such shares as determined
  under this Se-Otion 7(e). Each of the seUing and purchasing parties shall use his <>r her best efforts t(>
  mutuaUy agree on the fiili market value ~ithin thirty (30) days following the applicable triggering
  event (the court d~ree or order iri a divorce (7(a)), the date of death of an N Partner's spouse (7(b))~
  the date of notice under 7(c), or. if the purchase price has not previously been determined, 'tho
  expiration of tho 60"<lay period referenced in Sections 7(a) and (b)), If the panies are unable to agree
  upon the fair market value· within the foregoing thirty·(30) day period, the selling and purohasing N
  Partners shall engage a professional busines! appraiser. The appraiser shall, within sixty (60).days after
  its appointment, determine the fair mark~t value of. the Ownership Interests in writing and submit ii$
  report to the parties. The parties sha.11 eath pay for nn equal share af the·fee o.h'11'ged by the appraiser.

          (t)      The tenns of this S&::tion 7 shall aj>ply to the own~rship interests·of all N Enllties,.
  regardtes.o; of whether such rights are etiumerated in any of tho N Entity's governing documents.

          8.      S!larles of ·Manyement. Should ~y of the JV Partners tak~ a salary· from the·.
  manufacturing or distribution JV Entities. then Ben Knight wm also be entitled to a reasonabluataty,
  in proportion to any other salaries being.paid. tlKnmountofwhieh will be determined by JV Partners
  in good faith.                                                         ·

         9.       I.ttm aw\..l'ermination. This Agreement shall remain in effect so lt)ftg as any Proje'1l'
  is oporating or ~xpeotcd to operate. This Agreement may be tenninated by the mutual written
  agree:ment of all N Partners.




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Case 8:21-cv-01275-DOC-JDE                 Document 1 Filed 07/28/21                  Page 35 of 41 Page ID
                                                  #:35




          16.    Final Agtttment. This Agrecm"nt temilnates and supersedes all p.rior understandings
  or agreements on the $Ubject matter herenf. Should this Agreement and·the governing· documents for
  any N Entity conflict, tlic terms of thi$ Agreement shall oontrol. ·

          11.      SeverabilitJ. If any provision hereof is invalid or .unenforceable; then, ·to the fullest
  extent penni~d by law1 the other provisions hereof shaJl remain in full force and effect and th~re shall
  be deemed substituted tbr the provision at issue a valid~ Itgal, and enforceable proVision a~ similar as
  possible to the provision at issue in order to carry out the intentions of the N Partners as nearly as may
  be possible. ·
                                                                                                            ~

           12.    Notice&. Any notice requited by this Agreement or given in connection with it, s~JI
  be in writing and shall bc·.given to the appropriate party by personal delNery or by certified          mail,
  postage prepaid, or recognized overnight delivery mvice to the addresses for the N Partners listed on
  the signature page or such other address as proVided by a JV Partner to the other JV Partners in wdttng.
                      .                                                                                 '
          13.     Governing Lm.-This Agreemenuhall be construed and onforoed iri accordance with
  the laws of.the StJte of Cellfomia without resort to conflict oflaw principals. The parties ~gree that
  they will use their best efforts to amicably resolve any dispute arising out of or relating lo this·
  Agreement prior to Utigation.

          14.    Aslignmgt. Any person or entity who acquires an interest in the Joint Vent\ll'e .shall
  agree to be bound by this Agreement, and any pers~n or _entity who acquires an interest in any Project.
  or JV Bntity must agree to be bound by the· terms and conditions of this Agreeroertt-IJS they relate tc
  such pecson's or entit)i's interests in the Project or JV Entit)"

          15.     Jan WrtiV«· Each party hereby irravOQl\bly waives his/its rights to trial by jury in any
  action or proceeding arising out ofthi.s Agreement or the transactions relntlng to ·its .subject matter.

          16.   An d~Dilution .Right9. All aftbe JV Pllrtners shat1 agree by Wllll'litttous votes in writing,
  before any JV Partner's ·ownership in~rest in any of1he JV Entities is diluted or otherwi8e reduced,
  unless otherwise done so volun.t.atily by the JV Partner whose ownership lntere~t is being reduced.
  Failure to prooure the unanimous vote of all of the JV Partners prior to the issuance of additional shares
  In a JV Bntity will R8Ult in each N Partner•s shares being subje<:l to a full mtehet adj~ent. Such
  ratchet adjustment sbaJI occur automatically and without    furtheractiofron the·pert of the N Patttters,
  who shall be iswed·an additional number ofshares $Uch ihat each N Partner's percentago interest in
  the N Entity n;,mafns the same as set forth in Section 4(b) above. Ell.ch JV Partner•s shares in ·the JV
  Entitle$ wrn a)so be subject to proportional adjusbnent in e.ccordan~ with the foregoing for $plits,
  dividcmds, combinations. recapitalizations. reorganizations or otherwise.

           17.     Lig,yf4ation Preferenee, In the event of' ll chtmge of control of imy N B~tity, or the
  .liquidation, db1solution or winding..up or similar e11ent for· any N Bntity1 HBC will be· entilled to
   re¢elve. as a liquidation preference prior to payment of any other capital nccoun~ the amount or
   HBC's Cnpital Contribution that remains outstanding. After this·"Jiquida11o1;1 preference has been paid,




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Case 8:21-cv-01275-DOC-JDE                               Document 1 Filed 07/28/21      Page 36 of 41 Page ID
                                                                #:36




  aU remaining funds and ll!lsets of the entities legally a.vnilabltr for distribution to the JV Partners in
  ~rdance with the distribution provisions set furth in such JV Entity's bylaws or under CaHfomia
  law.

           t 8. Future Busiaeu Oppqrtanities. lf at any time any JV Partner becom~ aware of. or
  develops. create~ or invests in an:y cannabis--related business opportunity or venture, the discovering
  JV Partner agrees to notify the non--discovering JV Partners of such .o:pportunit.y or venture end use
  good-faith efforts to allow the non-c:U~vering JV Partrv:ni to have an equal option to invest or
  pe.rticlpate in the business opportunity or venture.

           19.      S!yerahili!!- If at any tim~ any J)tovision of this Agreement or any part thereof is or
  becomes invalid or on~orceable, then neither the validity nor the enforceability of the remain.ins
  provisions or the remaining part of the provision shall in any way be affected or intprured thereby. The
  parties a.gree to replace t'he invalid Ot unenforeeable provision or part-thereof by·a valid or enforceable
  provision which shall best. reflect the patties' origjnal intention and shall to the ext~nt possible .achieve
  the same economic resulL                                                                       ·

         20.      Ameedmenu. This Agreement may be amended only In writing by an instrument
  signed by all of the N Partners.

          21.     Recitals. Tho riwital~_tothis Agreement are true and correct:'and made a part hereof:

                               {Signature PageforJV P(Jrtners on Following PagtJ}




                                                                         9




                          .........   -------·------· ..·-·······-·-· .......   "
Case 8:21-cv-01275-DOC-JDE           Document 1 Filed 07/28/21             Page 37 of 41 Page ID
                                            #:37




           IN WlTNESS WHEREOF, the JV Partner$ hereto have caused this Agreement to_ be entered
  into as of the date first above written.

                                             JV PAR.'fNIRS:




              ·-




                                                 ~~
                                                  ~r
                                             Ben Knight,                 of BOlsboro Brown
                                             Capital, "LLC




                                                                                                   ·' .




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       Case 8:21-cv-01275-DOC-JDE             Document 1 Filed 07/28/21          Page 38 of 41 Page ID
                                                     #:38




                                                    Appendix A
                                              (Joint Ve11tu~ Entitlea)

             •   cadillaX Partners, LLC~ a California limited HabllitYcompany:
             •   CMX Distribution. Inc.~ a CaJifomia corporation;
             •   ECS Lab<lratories, Inc., a CalifornJa wrporation;
             •   Purple MoutttAin Holdings, Inc., a California corporation;
             o   Toronto Way Partners, lno., a Cellfomia corporation; mid,
             • Central Partners Group. Inc.t a ~Jifomia corponltion.




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Case 8:21-cv-01275-DOC-JDE   Document 1 Filed 07/28/21   Page 39 of 41 Page ID
                                    #:39




                       Exhibit B
        Case 8:21-cv-01275-DOC-JDE Document 1 Filed 07/28/21 Page 40 of 41 Page ID
   ..         Electronically Filed by Superior Court of California,
                                                              #:40County of Orange, 06/28/2021 04:50:00 PM.
  30.:2.021-01207562-Cl)~PN,.CJC- - ROA#
             .
                                                           a DAVID H.. YAMASAKI. Clerk ofthe Court
                                                             N

                                                                                               .
                                                                                                   By Arlene Gill, Deputy Clerk . .
                                                                                                         . . . . . . . . SUM-100
                                        SUMMONS
                                    (CITACION JUDICIAL)
 NOTICE TO DEFEND.ANT:
 (AVISOALDEMANDADO): ·
 CLAIBQRNETANNERANDT.ANNERLAW
 FIRM, LLC~ and DOES l .through lOO ·
 YOU ARE BEING SUED BY PLAiNTIFF:
 (lOESTA DEMAND.ANDO EL OEMANDANTE):
 PURPLEMOUNTAINHOLDJNGS,lNn;CENTRAL PARTNERS
 PARENT GROUP, INC.; CMX DISTRIBUTION,_INC~(See attachment}
  NOJl(:El You haVe.been sued. The c0uit may decide against you without yoor being heard unless YoU respond withiii 30 days. Read Uie infonnatlon
  below.         .                     .                                                    .                          .
       You haw.30 CALENDAR DAYS after tblis summons and legal papers are ~ed on you to. file a wrjtb,o ~ppm1e at lhis eollftand nav" a c:opy
    seived on.the plaintiff•.A letter or phol)e.<;all wl!l .not protect you•.Ycrur written response mustlJe in proper Iegl!I rorm ifYo'! want the co11rt to hear your
    cas:a. Them may be a court fotm that yo~ .can ~e fQr your response. You can find these court forms and more information at the Callftimla Courts
    Onl~ Self..ftelp Center (www.<:owtmfcu:a.gov/sellbefp), your c;ounty law library, or the c:ourthousa nearest you. Ifyou ca11not pay the filing tee. ask
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    may be lakenwithout further wanilng.fuJri1 the court.
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 ·. costs on any settlement orarblratiotra\vald Of.$10,000 or mo.ein a Civil ~se; The CC)Urt's llen nn1st bf! paid befo$ the        c»urt  will dismiss the case.
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DATE;       00/28/2021          DAViolicYAMASAKl,chirkl\ftke c~urt  Clerk, by               Arie rte Gill                                                 ;Oeptity
 (Feoha) .              . .. ..                                     {Secr(Jmrio)      .                                                                    (Adjunt9}
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(Pata prueba de entrega de esta cltaU6n use el foimulatio Proof of Service ofSummons, (POS.:010)).
        .                              NDliCE.TCJ THE PERSON SEttVED: You are served
 (SEAL)                                1. CJ as an indMdual defendant
                                       2;  CJaS:the person sued under 1he fictitious name of (specitjf)1

                                       a. D       on behelf ot (:$pecifyJ:
                                           under: D          CCP 416;10 (oorporatlon)                           CJ GCP 41E:t60 (mfnorJ
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                                       (Th.is AttactrmB(lf-may be used' with any Judicial CouncU: f<>.lfll'.).


 ECSL<\.BORATORIES, JNC.;BRANDPACK, LLC.; THE FOUR, LLC.




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